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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-03131-RBJ-MEH

LINDSAY STRONG,

      Plaintiff,

v.

SRC of COLORADO, L.L.C d/b/a PEAKVIEW ASSISTED LIVING and MEMORY
CENTER,

      Defendant.




           STIPULATED MOTION TO DISMISS WITH PREJUDICE



      Plaintiff, Lindsay Strong, and Defendant, SRC of Colorado, L.L.C. d/b/a Peakview

Assisted Living and Memory Center, hereby move the Court to dismiss this case, with

prejudice, each party to bear their own fees and costs. A proposed order is submitted with

this motion for the Court’s convenience.

      DATED the 3rd day of March 2021.



 /s/ Abigail Wallach                          /s/ Christopher M.A. Lujan
 Michael H. Bell                              Christopher M.A. Lujan, Esq.
 Abigail Wallach,                             Empower, P.C.
 Ogletree, Deakins, Nash, Smoak &             2851 South Parker Road, Suite 316
 Stewart, P.C. 2000 S. Colorado Blvd.         Aurora, CO 80014
 Tower 3, Suite 900                           720.791.5700 (Office)
 303.764.6800 (Office)                        720.260.1802 (Mobile)
 303.831.9246 (Facsimile)                     303.317.8145 (Facsimile)
 michael.bell@ogletreedeakins.com             christopher@empowerlawdenver.com
 abbey.wallach@ogletreedeakins.com
                                              ATTORNEY FOR PLAINTIFF
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 ATTORNEYS FOR DEFENDANT

                                CERTIFICATE OF SERVICE

I hereby certify that on the 3rd day of March 2021, a true and correct copy of the
foregoing STIPULATED MOTION TO DISMISS WITH PREJUDICE was served
via CM/ECF to the following:

Mr. Michael H. Bell, Esq.
Ms. Abigail Wallach, Esq.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
2000 S. Colorado Blvd.
Tower 3, Suite 900
303.764.6800 (Office)
303.831.9246 (Facsimile)
michael.bell@ogletreedeakins.com
abbey.wallach@ogletreedeakins.com

Attorneys for Defendant

                                                   /s/ Christopher M.A. Lujan
                                                   Christopher M.A. Lujan, Esq.
                                                   Empower P.C.




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Civil Action No. 20-cv-03131-RBJ-MEH

LINDSAY STRONG,

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SRC of COLORADO, L.L.C d/b/a PEAKVIEW ASSISTED LIVING and MEMORY
CENTER,

       Defendant.




                    ORDER DISMISSING CASE WITH PREJUDICE



       THIS MATTER, having come before the Court on the Stipulated Motion for

Dismissal with Prejudice, filed by both parties, and the Court being fully advised in the

premises;


       IT IS HEREBY ORDERED that this case is dismissed in its entirety, with

prejudice. Each party shall bear costs and fees in accordance with the agreement of the

parties.


       DATED the ____ day of March 2021



                                          ______________________________

                                          U.S. DISTRICT COURT JUDGE




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